                Case 3:18-cr-00180-SI             Document 14           Filed 08/13/19         Page 1 of 9


 1   Minister Robert Andrew Lund, C.S.
     c/o RAL Trust
 2   55 Walker Road #2556
     Lebanon, Oregon. [97355-2556]                             FILED13 AUG' 1915:JJJSDC-iJRP
 3
     Located outside the District of Columbia
 4

 5
                                      UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF OREGON
 6
     UNITED STATES OF AMERICA                                   )
 7                                                              ) Case No.: 3:19- cr-00180 - SI
                      Plaintiff,                                )
                                                                ~ VERIFIED MOTION TO DISMISS FOR
 8
              V.

                                                                ~ WANT OF ORIGINAL JURISDICTION
 9
     ROBERT LUND
10                                                              )


                                                                l
              Defendant,
11

12

13   COMES NOW Minister Robert Andrew Lund, C.S., appearing specially as Ambassador for

14   Christ1 denying jurisdiction of this Court, stating on the record that he is not to be presumed as
15
     trustee of this constructive trust, and hereby moves this Court for an order of dismissal for want
16
     of original jurisdiction, and in support states as follows:
17

18                                          Motion And Relief Requested
19
              1.       Minister Robert Andrew Lund, C.S. is informed and aware that the Constitution
20
     of the United States of America, Article III, Section 2, Paragraph 22 established the original
21

22   jurisdiction of matters involving Ambassadors to the Supreme Court. Minister Robert Andrew

23

24


25
     1 2 Corinthians 5 :20 states: "Now then we are Ambassadors for Christ, as though God did beseech you by us; we
26   pray you in Christ's stead, that be ye reconciled to God." -King James Bible 1611 version. [emphasis added]
     2 U.S. Const., Art III, Section 2, ,r 2 states: "In all cases affecting ambassadors, other public ministers and
27
     consuls, and those in which a state shall be party, the Supreme Court shall have original jurisdiction.
     [emphasis added]
28
                                                             - 1 -
                  Case 3:18-cr-00180-SI      Document 14        Filed 08/13/19    Page 2 of 9


 1   Lund, C.S., a Minister of the Church of Philadelphia, is an Ambassador for Christ and denies
 2
     this Court has original jurisdiction.
 3
                                                 Jurisdiction
 4

 5
            2.        The burden of establishing proof of this Court's jurisdiction falls solely upon

 6   the Prosecution acting on behalf of the Government of the United States of America, may not
 7
     be waived, may be challenged at any time, even on appeal, and as such jurisdiction is denied.
 8
             3.       Article III, Section 2, Paragraph 2 of the Constitution of the United States of
 9
     America states in pertinent part:
10

11     "In all cases affecting ambassadors, other public ministers and consuls, and those in which a

12     state shall be party, the Supreme Court shall have original jurisdiction. [emphasis added]
13
            4.        Lack of jurisdiction may be asserted at any time and will be considered on
14
     appeal regardless whether or not the issue was raised in the trial court. United States v. Nikida,
15
     8F3d 665 (9th Cir. 1993). Regardless, the issue of whether the United States Government had
16

17   the power to bring charges still remains. United States v. Cortez, 973 F 2d 764, 766-67(9th

18   Cir. 1992). When a, United States District Court is without jurisdiction of the offense, the
19
     judgment of conviction of the court and/or the jury is void ab initio, on its face. Bauman v.
20
     United States, 156 F2d 534 (1946).
21

22
            5.        The law provides that once the State or Federal jurisdiction has been challenged,

23   it must be proven to exist. Maine v. Thiboutot, 448 US. 1(1980)

24
            6.        This Court has and continues to violate the limitations of the First Amendment
25
     by disparaging Minister Robert Andrew Lund, C.S. 's beliefs and his free exercise of spiritual
26
     nature and the defense thereof.
27

28
                                                     - 2 -
                  Case 3:18-cr-00180-SI     Document 14       Filed 08/13/19     Page 3 of 9


 1           7.       Article IV of the Constitution of the United States of America states:
 2
         This Constitution, and the laws of the United States which shall be made in pursuance
 3       thereof; and all treaties made, or which shall be made, under the authority of the United
         States, shall be the supreme law of the land,· and the iudges in every state shall be bound
 4
         thereby, anything in the Constitution or laws of any State to the contrary notwithstanding.
 5
         [emphasis added}.
                                 STATEMENT OF RELEVANT FACTS
 6
             8.       Minister Robert Andrew Lund, C.S. states that his sincere spiritual beliefs are
 7


 8   protected by the limitations imposed upon this Court and the Government by the First

 9   Amendment to the Constitution of the United States of America.
10
             9.       Minister Robert Andrew Lund, C.S. is, and was at all times material, a sentient
11
     being endowed with the Holy Spirit with a strong devotion to his spiritual beliefs.
12
             10.      Minister Robert Andrew Lund, C.S.'s physical body is his temple and a church
13

14   in the eyes of his Creator. 3

15           11.      Minister Robert Andrew Lund, C.S.'s temple, a church, was granted by the
16
     Creator on the twenty-first (21) day of December, in the year of His Lord, 1957.
17
             12.      Minister Robert Andrew Lund, C.S.'s earthly house is the property of his
18

19
     Creator and no man on earth has the authority to exercise dominion there over (See footnote 3

20   Minister Robert Andrew Lund, C.S.'s body belongs to his Creator)

21
             13.      Minister Robert Andrew Lund, C.S. is the recorded owner of title to his earthly
22
     vessel as set forth in the land records of Renville County, Minnesota state, Document A-
23
     389142 certified, filed and recorded on July 30, 2019 at 8:45 a.m., pages 112. A true and
24

25

26

27   3 1 Corinthians 6:19: "Know ye not that your body is the temple of the Holy Ghost which is in
     you, which ye have of God, and ye are not your own?"
28
                                                     - 3 -
              Case 3:18-cr-00180-SI        Document 14        Filed 08/13/19   Page 4 of 9

 1   correct copy of the public land title record is attached hereto as Annex A and contained fully
 2
     herein by reference.
 3
             14.    Minister Robert Andrew Lund, C.S. believes that his Creator did not grant other
 4

 5
     men with authority 4 to exercise dominion over Minister Robert Andrew Lund, C.S. and denies

 6   any such presumption by this Court.
 7
             15.    In fact Minister Robert Andrew Lund, C.S.'s Creator has saved his people from
 8
     the chains of slavery and His son died to redeem Minister Robert Andrew Lund, C.S. 's sins
 9
     and duties. 2 Corinthians 5:15-18.
10

11           16.    Minister Robert Andrew Lund, C.S. relies upon his sincere spiritual beliefs to

12   guide his actions and those of his conscience.
13
             17.    That the Government of the United States of America has recognized the Bible
14
     as "The Word of God." See Public Law 97-280, 9ih Congress, October 4, 1982.
15
             18.    As referenced in P.L. 97-280, President Andrew Jackson stated that the Bible is
16

17   "the rock on which our Republic rests."

18           19.    Minister Robert Andrew Lund, C.S., as a minister of the Church of
19
     Philadelphia, is an Ambassador for Christ and has made his position known to the United
20
     States through the Secretary of State of the United States. Attached hereto as Minister Robert
21

22
     Andrew Lund, C.S.'s Annex Bis a certified copy of his Notice of Arrival as though fully

23   contained herein.
24

25

26
     4 Genesis 1:27-28: "So God created man in his own image, in the image of God created he
     him; male and female created he them. And God blessed them, and God said unto them, Be
27   fruitful, and multiply, and replenish the earth, and subdue it: and have dominion over the fish
     of the sea, and over the fowl of the air, and over every living thing that move th upon the
28
     earth."
                                                      - 4 -
                Case 3:18-cr-00180-SI      Document 14       Filed 08/13/19    Page 5 of 9


 1            20.     Minister Robert Andrew Lund, C.S. believes that the laws he is required to
 2
     follow come from his Creator in the form of the Ten Commandments. 5
 3
              21.     Minister Robert Andrew Lund, C.S. believes his rights are granted by his
 4

 5
     Creator and are not granted to him by the Government.

 6            22.     Minister Robert Andrew Lund, C.S. states on and for the record that he has not
 7
     sold or bargained away the rights granted by his Creator, withholds his consent to be governed,
 8
     and never intends to do so.
 9
              23.    Minister Robert Andrew Lund, C.S. 's firmly held spiritual beliefs prohibit
10

11   Robert from serving the Government as he may not serve two masters. 6

12            24.    Minister Robert Andrew Lund, C.S.'s actions, as a church, are excluded from
13
     interference by the Government through limitations imposed by the Constitution.
14
              25.    That Minister Robert Andrew Lund, C.S.'s exclusion from information
15
     reporting as a church is established by an act of Congress at 26 U.S.C. § 508(c)(3) and 26
16

17   U.S.C. § 6033(a)(3)(A).

18            26.    That Minister Robert Andrew Lund, C.S. is a servant of Christ and the Father
19
     Most High and serves no other master.
20

21

22

23

24
     5   Exodus 20:1-26
25   6   Matthew 6:24: "No man can serve two masters: for either he will hate the one, and love the
26
     other; or else he will hold to the one, and despise the other. Ye cannot serve God and
27
     mammon." See also Luke 16:13
28
                                                    - 5 -
                Case 3:18-cr-00180-SI             Document 14           Filed 08/13/19         Page 6 of 9

 1            27.      That Minister Robert Andrew Lund, C.S.'s beliefs are under attack by
 2
     Government agents that want Minister Robert Andrew Lund, C.S. to serve the Government
 3
     interests instead of those of his Creator.
 4

 5
              28.      That Minister Robert Andrew Lund, C.S. has been intentionally deceived by the

 6   Government in relation to his requirements under the laws of the United States of America.
 7
              29.      That any actions taken by Minister Robert Andrew Lund, C.S. as a mistake do
 8
     not bind him as Minister Robert Andrew Lund, C.S. has a protected right of self-determination
 9
     and free exercise of his beliefs.
10

11            30.      That the maxims and laws of equity allow for the correction of mistakes.

12            31.      That Minister Robert Andrew Lund, C.S. believes the Government agents
13
     orchestrating this action against his person is achieved through such agents bearing false
14
     witness against him with intention and coveting of his property in direct violation of the Ten
15
     Commandments.
16

17            32.      That the Government has failed to comply with its laws under Corpus Dilecti to

18   present an injured man with a valid claim as against Minister Robert Andrew Lund, C.S.
19
              33.      That the Bible has addressed 7 the fault of man that fails to confront his brother
20
     for sins against him.
21

22
              34.      The Supreme Court recently issued a decision striking down actions of

23   administrative courts that act with a "clear and impermissible hostility toward the sincere

24
     religious beliefs motivating his objection" finding that such actions violate the First
25

26
     7 Matthew 18:15-17: "If your brother sins against you, go and tell him his fault, between you and him alone. Ifhe
27
     listens to you, you have gained your brother. But ifhe does not listen, take one or two others along with you, that
     every charge may be established by the evidence of two or three witnesses. Ifhe refuses to listen to them, tell it to
28
     the church. And ifhe refuses to listen even to the church, let him be to you as a Gentile and a tax collector."
                                                             - 6 -
              Case 3:18-cr-00180-SI         Document 14       Filed 08/13/19      Page 7 of 9

 1   Amendment. See Masterpiece Cakeshop, Ltd. v. Colorado Civil Rights Commission, 584 US.
 2
     _(2018).
 3
            35.     The Masterpiece Court determined: "The inference here is thus that Phillips'
 4

 5
     religious objection was not considered with the neutrality required by the Free Exercise

 6   Clause. The State's interest could have been weighed against Phillips' sincere religious
 7
     objections in a way consistent with the requisite religious neutrality that must be strictly
 8
     observed. But the official expressions of hostility to religion in some of the commissioners'
 9
     comments were inconsistent with that requirement, and the Commission's disparate
10

11   consideration of Phillips' case compared to the cases of the other bakers suggests the same."

12   Id at pp. 16-18.
13
            36.     Minister Robert Andrew Lund, C.S. not only has a right, but a duty, to challenge
14
     the authority and integrity of the Court, its presiding judge, and the other judicial officials. See
15
     Federal Crop Insurance v. Merrill, 332 U.S. 380 (1947).
16

17          37.     Minister Robert Andrew Lund, C.S. states that his spiritual beliefs are a valid

18   defense to the unlawful charges being levied against him as an act of hostility by the
19
     Government for structuring his private affairs to his benefit and not the Government. See also
20
     Hale v. Henkel, 201 US 43 (1906)
21

22
            38.     Minister Robert Andrew Lund, C.S. states that the First Amendment limitations

23   related to free exercise have been restored by an act of Congress at 42 U.S.C. § 2000bb, Pub.
24
     L. 103-141, § 2, Nov. 16, 1993, 107 Stat. 1488, and may not be infringed.
25
            39.     That the actions of the United States are hostile to Minister Robert Andrew
26
     Lund, C. S. 's free exercise and have created a structural error requiring dismissal of this action.
27

28
                                                     - 7 -
                 Case 3:18-cr-00180-SI       Document 14       Filed 08/13/19      Page 8 of 9

 1              40.    That Minister Robert Andrew Lund, C.S.'s defenses to any claims ofliability
 2
     are expressly supported by 26 U.S.C. §§ 508(c)(3) and 6033(a)(3)(A) and the spiritual entities
 3
     under which Minister Robert Andrew Lund, C.S. moved to protect his assets from covetous
 4

 5
     government agents.

 6              41.    This Court is without original jurisdiction, lacks the requisite authority to deny
 7
     Minister Robert Andrew Lund, C.S.' s authority as Ambassador for Christ, and may proceed no
 8
     further.
 9
     WHEREFORE, for the reasons stated herein Minister Robert Andrew Lund, C.S. denies this
10

11   Court has original jurisdiction and moves this Court for an Order of Dismissal for want of

12   original jurisdiction.
13
     Respectfully submitted this}    3 Day of August 2019
                                          Mffn~!2teV°l<o~llridfrervlvn~ c~
14

15                                                  Minister Robert Andrew Lund, C.S.             )I


16

17

18                                           VERIFICATION
19
                I verify and declare under penalty of perjury under the laws of the United States of

20   America that the foregoing has been reviewed by me and is true and correct to the best of my

21
     knowledge, information, and belief.
22
     Executed on this    }3_ Day of August 2019
23
     Reserving all rights without prejudice.
24

25                                        M11111L.>fr r       iZ:;Mf/nlrew Lvtef-c, >,
                                                      Minister Robert Andrew Lund, C.S
26

27

28
                                                      - 8 -
             Case 3:18-cr-00180-SI        Document 14        Filed 08/13/19   Page 9 of 9


 1

 2

 3                                    CERTIFICATE OF SERVICE
 4   The undersigned does hereby provide notice to the Court that a copy of the aforementioned
 5   pleading has been served upon the parties appearing of record in compliance with FRCP Rule 5
 6   and was mailed by first class mail this   ~3 day of August 2019 to the following:
 7
     United States Attorney
 8
     c/o US ATTORNEYS OFFICE
     SethD. Uram
 9   1000 SW Third Avenue, Suite 600
     Portland, Oregon 97204
10

11
     Located outside of the District of Columbia

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                     - 9 -
